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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                       )
QORVO, INC.,                           )
                                       )
      Plaintiff,                       )
                                       ) C.A. No. 1:21-cv-01417-RGA
              v.                       )
                                       )
AKOUSTIS TECHNOLOGIES, INC. and        )
AKOUSTIS, INC.                         )
                                       )
      Defendants.                      )
__________________________________________________________________________

   DEFENDANTS’ OPENING BRIEF IN SUPPORT OF ITS MOTION TO DISMISS



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I.     NATURE AND STAGE OF THE PROCEEDINGS

       Plaintiff, Qorvo, Inc. (“Qorvo” or “Plaintiff”), filed a five Count Complaint

(“Complaint”) on October 4, 2021, against Defendants Akoustis Technologies, Inc. and

Akoustis, Inc. (collectively “Akoustis” or “Defendants”). Counts I and II allege patent

infringement. Count III alleges false advertising under the Lanham Act. Count IV alleges false

patent marking under 35 U.S.C. § 292. Count V alleges Unfair and Deceptive Trade Practices

under N.C.G.S. § 75-1.1. Defendants move to dismiss the willful, enhanced, and pre-suit

damages and induced patent infringement allegations of Counts I and II, as well as Counts III-V,

and respectfully submit this opening brief in support of their motion to dismiss.

II.    SUMMARY OF ARGUMENT

       1.      As to Counts I and II, the willful, pre-suit damages and induced infringement

allegations must be dismissed for failure to state a claim pursuant to Rule 12(b)(6) because

Qorvo has not adequately pleaded knowledge of patents and infringement, or notice marking of

the asserted patents, or intent to infringe for induced infringement.

       2.      As to Counts III, IV and V, each count must be dismissed for failure to state a

claim pursuant to Rule 12(b)(6) because Qorvo has not adequately pleaded the requisite

elements: the alleged false or misleading statements or bad faith as to Count III; deceptive intent

or falsity of patent marking as to Court IV and an unfair or deceptive act as to Count V.

III.   INTRODUCTION

       This is a case between competitors in the BAW (bulk acoustic wave) filter space. A

BAW filter is a type of circuit heavily used in wireless devices to eliminate noise or other

unwanted signals. Both companies are deeply tied to North Carolina and are located about an

hour and a half apart from the other. As described in the Complaint, Plaintiff Qorvo was formed

in 2015 following the merger of TriQuint Semiconductor and RF Micro Devices (“RFMD”) and
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supplies a “broad range” of products, BAW filters being just one of those products. Akoustis

was formed in 2014, a year earlier than Qorvo, by Jeffrey Shealy, a former vice-president of

RFMD along with Steven Denbaars and Richard Ogawa. Plaintiff does not allege any

relationship between Mr. Denbaars or Mr. Ogawa with Qorvo, RFMD or any other predecessor

entities but notes that Akoustis’ Board also includes other former executives of RFMD. As both

parties are public entities and competitors, these are facts that have been known for years.

       While Plaintiff alleges that “Akoustis was formed specifically to compete with Qorvo

[and its predecessors],” Akoustis was formed seven years ago and whatever claims could have

theoretically existed at the time (and Akoustis disputes there were any) are long barred by the

passage of time. Nonetheless, Plaintiff generally alleges that Akoustis has acted inappropriately

since 2014 by “poaching” more that 20 of Qorvo’s former employees (whose job titles widely

vary from a device engineer to a senior tax manager to a customer quality manager). According

to Qorvo, all or some of these ex-Qorvo employees must have breached their contractual

obligations to Qorvo and shared Qorvo confidential information with Akoustis in such a manner

that Akoustis was able to take its technology to its current leading-edge. Essentially, Qorvo’s

factual evidence of this alleged elaborate scheme is Akoustis’ success.

       Such conjecture is not sufficient to sustain a federal complaint. What the Federal Rules

of Civil Procedure require, and what the Complaint lacks, are contemporaneous facts supporting

the alleged unfair/deceptive conduct for at least some reasonable portion of this alleged seven-

year scheme. Specifically, the who/what/why/when/how of Akoustis’ alleged misappropriation

scheme—such as the specific unfair/deceptive act(s) (as those terms of defined by law), the

identity of any ex-Qorvo employee(s) that Qorvo believes has disclosed or will disclose alleged

Qorvo information; the date when that employee(s) departed from Qorvo and the reason for the

departure; the nature of the Qorvo information held by that ex-Qorvo employee(s) at the time of
                                                -2-
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departure; the date when that employee(s) joined Akoustis and the reason for that arrival; and the

specific Qorvo information at issue and whether it is actually confidential and has been used by

Akoustis. These factual allegations are vital because employee migration alone is both a lawful

and a common occurrence. Plaintiff ignores that fact and, more troubling, glosses over the

factual allegations needed to support this broad alleged scheme. Rather than meeting its burden,

Qorvo defaults to conclusory assertions about ex-Qorvo employees being poached from Qorvo

and sharing some unspecified Qorvo information with Akoustis. Ultimately, Plaintiff simply

concludes that there must be something improper because Akoustis succeeded in less time and

with less people than Qorvo did.

       Omissions in the Complaint further suggest this lawsuit was motivated by Qorvo’s

competitive concerns as opposed to any genuine concern for its intellectual property. For

example, nothing in the Complaint suggests that in the last seven years either Qorvo or any of its

predecessor companies has ever issued a single cease-and-desist letter or raised any other

proprietary interest concern to Akoustis. Nor does Qorvo allege even a single cause of action

against any of the 20+ people it now alleges breached (or are about to breach) Qorvo’s far-

reaching confidentiality provision despite the fact that the alleged breach, according to Qorvo, is

the reason Akoustis is successful. Similarly, Qorvo has failed to even attempt to meet the

pleading standard required for any claim of misappropriation of trade secrets against Akoustis or

any other person. Rather, Qorvo attempts to repackage its flawed misappropriation theory into a

state law claim for unfair business practice so that it can force Akoustis into years of expensive

discovery. The Court should not entertain such speculative claims.




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           As described below, except for Qorvo’s patent infringement claims,1 the balance of

 Qorvo’s Complaint focuses on a set of unfair competition/practice claims (i.e., a deceptive

 practice/act claim under a North Carolina statute, a false patent marking claim and a false

 advertising claim under the Lanham Act). Each claim fails as a matter of law because Qorvo’s

 claims are largely based on self-serving, conclusory allegations that rely on layer after layer of

 statements asserted upon information and belief. Akoustis respectfully requests that the Court

 grant its motion.

 IV.       STATEMENT OF ALLEGED FACTS FROM QORVO’S COMPLAINT

           Alleged Unfair and Deceptive Trade Practices: Qorvo contends that “[s]ince its

 inception, Akoustis has engaged in conscious, methodical, and systematic recruitment and

 solicitation of Qorvo’s employees in all major areas. Indeed, and beyond a majority of its board

 being ex-Qorvo employees, Akoustis has poached over twenty key employees, including crucial

 personnel from engineering, operations, sales, quality control and testing, packaging, and

 management.” (D.I. 1 ¶ 46; and ¶¶ 47, 120.) Qorvo asserts that “[i]t is highly probable—and on

 information and belief, inevitable—that Akoustis has used, relied upon, and exploited the Ex-

 Qorvo BAW Employees’ knowledge of the Qorvo BAW Proprietary Information.” (Id. ¶ 55; see

 also ¶ 57.)2 And that false statements account for the unfair competition. (Id. ¶¶ 59, 66.)

           As to the alleged “BAW Proprietary Information” that Qorvo believes has likely been




       1
       While Qorvo’s claims of direct patent infringement lack merit, this motion does not
challenge the patent claims except for three limited points: willful damages; past (pre-suit)
damages; and induced infringement allegations; each of which is subject to dismissal.
     2
       Qorvo’s contention, in the alternative, that Akoustis will inevitably use (future tense) “the
Qorvo BAW Proprietary Information” plainly conflicts with its contention that Akoustis has
already “gained an unfair advantage” to enter the BAW market “more quickly”. (D.I. 1 ¶ 56.)
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 exploited by its ex-employees, Qorvo alleges that its proprietary information3 includes all of its

 technical expertise and know-how as well as all of its “business information” (from its

 organization structure and employees lists to its supplier lists and its “desires”). (D.I. 1 ¶ 20.) 4

        Alleged False Statements about “single-crystal” technology (Alleged False Patent

 Marking and Alleged False Advertising): Plaintiff asserts two related claims based on its

 contention that Akoustis improperly identifies its products as including single-crystal-technology

 when Qorvo contends that it is actually polycrystalline. Specifically, Count IV alleges false

 patent marking under 35 U.S.C. § 292 based on contentions that Akoustis marked each of the

 “Accused Products” with U.S. Patent No. 10,256,786 (the “’786 Patent”) (see Exhibit 1) on

 datasheets available on its website. (Id. ¶¶ 106-109.) Qorvo fails to allege and cannot allege

 that the ’786 Patent claim language actually requires a single-crystal because it is simply an

 optional feature. Count III similarly alleges that, under the Lanham Act, Akoustis either falsely

 or misleadingly advertised to “target customers” and investors that Akoustis’ own BAW filters

 are “single crystal” devices, based on Qorvo’s “information and belief” that Akoustis used the

 false advertising to promote that its BAW filters have better technology than Qorvo’s products.

 (Id. ¶¶ 93-97.) Qorvo fails to make the required factual allegations including the specific

 advertisements and the allegations needed to show confusion of a highly-skilled customer.

        Alleged Willful and Induced Patent Infringement; Past Damages: Qorvo alleges two

 counts of patent infringement, including allegations of “willful, deliberate, and intentional”


    3
       Qorvo also highlights its “over 3,000 patents… including hundreds of patents related to its
BAW filter technology,” leaving unstated that these are in the public domain and cannot be “the
Qorvo BAW Proprietary Information.” (D.I. 1 ¶ 23.)
     4
       Qorvo’s pleadings identify a laundry list of “examples” of generic labels for effectively an
all-encompassing umbrella of business and technical information and calls it “BAW Proprietary
Information.” (Id. ¶ 20 (hereinafter referred to as “confidential information”).) To be clear,
Qorvo does not allege any facts to support that any of the “confidential information” has actually
been used, nor does it allege that any such information constitutes trade secrets.
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 infringement and that Akoustis acted in “reckless disregard of Qorvo’s patent right.” (Id. ¶¶ 75,

 88.) Qorvo alleges that “on information and belief” Akoustis has knowledge of the Patents-in-

 Suit because a number of senior executives and other employees of Akoustis were once at Qorvo

 (or one of its predecessor companies) (Id. ¶¶ 50-51.) In addition to again failing to supply the

 factual basis for its allegations, Plaintiff also fails to allege, as it must to the extent it seeks past,

 pre-suit damages, that it satisfied the marking requirements of 35 U.S.C. § 287(a).

 V.      LEGAL STANDARD

         Rule 12(b)(6) provides for dismissal where a plaintiff fails to sufficiently state a claim for

 relief. A legal claim brought in federal court mandates the pleading of sufficient facts. Bell Atl.

 Corp. v. Twombly, 550 U.S. 544, 556-57 (2007). “Bare assertion[s]” and “conclusory

 allegation[s]” will not suffice. Id. Naked allegations without factual enhancements “stop[] short of

 the line between possibility and plausibility of entitlement to relief.” Id. (internal quotations

 omitted). A “formulaic recitation of the elements” of a claim also fails to meet the requisite

 pleading standard. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Twombly, 550 U.S. at 555

 (pleadings must contain “more than an unadorned, the-defendant-unlawfully-harmed-me

 accusation”). While the Court must generally accept Plaintiff’s factual allegations as true, a court

 need not accept as true a plaintiff’s “unwarranted inferences, unreasonable conclusions, or

 arguments.” Eastern Shore Mkts. v. J.D. Assocs. Ltd. Pshp., 213 F.3d 175, 180 (4th Cir. 2000).

 Indeed, an unfair practices claim is properly dismissed when defendants have “failed to

 sufficiently plead facts manifesting their plausible right to relief.” PNC Bank, N.A. v. Welsh

 Realty, LLC, No. 5:13-CV-203-BO, 2014 WL 4386064, at *2 (E.D.N.C. Sept. 5, 2014) (unfair

 practices claim properly dismissed because it was predicated on a fraud claim that was

 insufficiently pleaded under Fed. R. Civ. P. 12(b)(6)). While certain allegations can be on the

 basis of “information and belief,” sufficient facts must be pleaded to make such allegations
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 plausible. See Twombly, 550 U.S. at 551, 557 (declining to take as true the conclusory allegation

 “upon information and belief” that the companies had entered a conspiracy without enough facts

 to make that statement plausible); see, also, Exergen Corp. v. Wal–Mart Stores, Inc., 575 F.3d

 1312, 1327 (Fed. Cir. 2009) (“[a]lthough ‘knowledge’ and ‘intent’ may be averred generally, our

 precedent, like that of several regional circuits, requires that the pleadings allege sufficient

 underlying facts from which a court may reasonably infer that a party acted with the requisite

 state of mind.”) (cited by Tyco Healthcare Grp., LP v. C.R. Bard, Inc., 818 F. Supp. 2d 777, 784-

 85 (D. Del. 2011)).

 VI.    ARGUMENT

        A.      QORVO FAILS TO STATE A CLAIM FOR VIOLATION OF UNFAIR OR
                DECEPTIVE ACTS/PRACTICES (N.C.G.S. SECTION 75-1.1)

        Dismissal of the North Carolina Unfair Trade Practices Act claim (N.C. Gen.Stat. § 75–

 1.1) (“Section 75-1”) is appropriate because Akoustis is left only to guess as to the nature of the

 alleged misappropriation that Qorvo claims is the underlying unfair act/practice. To state a claim

 under Section 75-1 the following criteria must be met: (1) defendant committed an unfair or

 deceptive act or practice, (2) the action in question was in or affecting commerce, and (3) the act

 proximately caused injury to the plaintiff. Dalton v. Camp, 353 N.C. 647, 656 (2001); N.C.G.S.

 § 75-1.1. The North Carolina Supreme Court has explained that the purpose of Section 75-1 is to

 regulate those acts that “offend established public policy as well as when the practice is immoral,

 unethical, oppressive, unscrupulous, or substantially injurious to consumers.” Marshall v. Miller,

 302 N.C. 539, 548 (1981). Plaintiff has failed to allege such an act/practice.

        The gravamen of Qorvo’s Section 75-1 claim is an allegation, based on information and

 belief, of an overarching misappropriation scheme over seven years resulting in the use of

 unspecified Qorvo information disclosed by unspecified ex-Qorvo employees. (D.I. 1 ¶¶ 47, 49-


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 50, 53, 54, 56, 116.) Qorvo’s Section 75-1 claim primarily rests on two theories—that some

 unspecified misappropriation (1) was accomplished through the alleged “poaching” of various

 unidentified former Qorvo employees (Id. ¶¶ 46-58, 123-126); or (2) occurred at some point in

 the last seven years or will occur at some unspecified time in the future because these

 unspecified employees will inevitably disclose unspecified Qorvo information to Akoustis. (Id.

 ¶¶ 55, 57, 117, 123-124.)5 While Qorvo uses some of the buzz words of misappropriation in its

 Section 75-1 claim, it has not filed any trade secret claims (and the allegations it does offer

 certainly would not meet the specificity requirements of Rule 9). Qorvo’s efforts to repackage

 its speculative theories into a state law claim also falls short as Section 75-1 requires an allegedly

 deceptive act or practice by Akoustis, and Qorvo pleads no such facts despite, according to

 Qorvo, “[t]he sheer number of highly-knowledgeable and qualified [ex-]Qorvo employees

 poached” over a seven-year period “resulted in Akoustis inevitably using their knowledge.” (Id.

 ¶ 55 (emphasis added).). The over-reaching expanse of the unspecified Qorvo information (see

 infra at fn. 4) creates another layer of uncertainty as to the specifics of the claim being alleged.6

                1.      Employee Mobility is not an Unfair Practice/Act

        As an initial matter, employee mobility alone is not actionable—public policy strongly

 favors the right of each employee to change jobs. Here, Plaintiff does not suggest that any type

 of non-compete was signed by any former ex-Qorvo employee and, in any event, non-competes




    5
       Qorvo also alleges in passing that alleged false and misleading representations about a
single crystal construction qualifies as an act/practice under Section 75-1. Again, Qorvo fails to
allege facts sufficient to indicate that the alleged act was dishonest or immoral. Additionally, as
these references appear to refer to Qorvo’s Lanham Act and false marking claims, those claims
separately fail as a matter of law as set forth herein.
     6
       Given the extensive reliance on information and belief and the lack of factual allegations
after seven years of a purported scheme, it is apparent that Qorvo has not (and cannot) state facts
sufficient to allege any specific act/practice of Akoustis but is instead using its Complaint and the
discovery process to try and find (or conjure) it.
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 are generally disfavored in North Carolina because of the state’s public policy interest in

 promoting employment and competition. See e.g., Copypro, Inc. v. Musgrove, 232 N.C. App.

 194, 199-201 (2014) (employers cannot protect their interests in a way that causes unreasonable

 hardship for employees); VisionAIR, Inc. v. James, 167 N.C. App. 504, 507-10 (2004) (stating

 that non-competes that prohibit direct or indirect competition because they restrict too many

 activities, are generally disfavored). The fact that employees are shifting between competitors is

 common and competition between employers to retain the best and brightest is often simply a

 reflection of lawful competition. See Peoples Sec. Life Ins. Co. v. Hooks, 322 N.C. 216, 222

 (1988) (applying “the general principle that interference may be justified when the plaintiff and

 the defendant are competitors” because “[t]o hold otherwise would unduly limit lawful

 competition”).

        North Carolina courts have “consistently held that the employer/employee relationship

 does not fall within the intended scope and purpose of [Section 75-1].” Kinesis Advert., Inc. v.

 Hill, 652 S.E.2d 284, 298 (N.C. App. 2007). Accordingly, to state a claim under Section 75-1,

 Qorvo must do more than attack years of employee mobility, it must set forth some factual

 allegation of an unfair or deceptive act or practice. For purpose of Section 75-1 an act or

 practice is unfair only “‘if it is immoral, unethical, oppressive, unscrupulous, or substantially

 injurious to consumers’” and it is deceptive if the misleading act occurs “under egregious or

 aggravating circumstances, and the harm resulting from the alleged deceptive practice must be

 such that the plaintiff could not reasonably avoid it.” Khouri v. Nat'l Gen. Ins. Mktg., Inc., 501

 F. Supp. 3d 353, 359 (M.D.N.C. 2020).

        Here, it is not alleged that the ex-Qorvo employees were anything other than at-will

 employees, nor is any type of immoral, oppressive, egregious or aggravating circumstances (as

 those terms of contemplated by Section 75-1) alleged to have been done by or at the direction of
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 Akoustis. The most specific example that Qorvo sets forth appears to be alleged conduct by an

 outside recruiter. Qorvo alleges that at an unknown time, unspecified persons working as

 “recruiters” on behalf of Akoustis asked “a Qorvo employee to disclose BAW Proprietary

 Information during the recruitment process” by sharing their computer screen with the recruiters.

 Without more, those statements cannot rise to the level of an immoral or egregious act under

 Section 75-1 much less any conduct by or attributable to Akoustis. (D.I. 1 ¶ 54.) Without

 reasonable allegations, Akoustis is left to guess as to what Qorvo is referring to. The situation is

 compounded by Qorvo’s senselessly broad definition of BAW Proprietary Information that could

 mean virtually any information related to Qorvo. This could have been an employee sharing

 their employment agreement to confirm (s)he was not subject to a non-compete or an employee

 substantiating job responsibilities or compensation details during negotiations for a job offer.

 There are no factual allegations detailing the nature of that information (including whether it was

 actually confidential) much less clarity as to who were the involved parties (e.g., an outside

 employment agency or an Akoustis employee), what were the circumstances of the discussion

 (e.g., the nature of the alleged recruitment, what type of job was at issue), when did this take

 place, and was there any disclosure (much less any usage of such information) to the recruiters or

 to Akoustis. Qorvo strategically omits these important details on the hope this Court will make

 assumptions and inferences adverse to Akoustis. The analysis by the court in Legacy Data

 Access, LLC v. MediQuant, Inc., No. 3:15-CV-00584-FDW-DSC, 2017 WL 6001637, at *17

 (W.D.N.C. Dec. 4, 2017) applying North Carolina law, confirms that even if there is a trade

 secret violation, that violation would not, in turn, result in a Section 75-1 claim absent “the

 factual findings of the jury to determine if the act or practice is ‘unfair’ or ‘deceptive’ as

 previously defined by the North Carolina Supreme Court.” (emphasis added). Here, Qorvo’s

 vague and conclusory allegations simply fail to set forth the factual allegations needed for its
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 claim.

          Qorvo’s belief that there must be some unfair act to explain Akoustis’ success is also

 insufficient. For example, Qorvo offers a laundry list of “[e]xamples of Qorvo’s confidential and

 proprietary information [of alleged] technical expertise and know-how …” (Id. ¶ 20) and then

 based “[o]n information and belief” asserts that the alleged poaching allowed Akoustis to bring

 its Accused Products to market in a timeframe that is “highly unlikely, if not impossible, without

 these unfair practices.” (Id. ¶ 126.) But again, Qorvo uses a grossly overbroad definition of

 confidential information (i.e. BAW Proprietary Information) that essentially treats every aspect

 of its business as confidential and fails to allege the factual allegations necessary to plausibly

 show an unfair practice/act by Akoustis. Qorvo’s repetitive speculation, moreover, is not a

 factual allegation, and the “mere fact that someone believes something to be true does not create

 a plausible inference that it is true.” In re Darvocet, Darvon, and Propoxyphene Products

 Liability Litigation, 756 F.3d 917, 931 (6th Cir. 2014). Additionally, attempting to state a prima

 facie case by making the assertion based on “information and belief” does not meet the legal

 requirement to assert a plausible factual basis for the claim. See e.g., Twombly, 550 U.S. at 551,

 557 (conclusory allegation “upon information and belief” is insufficient absent facts to make that

 statement plausible).

          While Qorvo will likely seek to amend its claim, it should only be allowed to do so if it

 can allege some actual factual basis for its alleged scheme. Given that over the last seven years

 Qorvo has not even issued a single demand letter to inquire about any ex-Qorvo employee’s

 potential use (or misuse) of any Qorvo alleged confidential information that seems doubtful.

                 2.      A Breach of Contract is not an Unfair Practice/Act

          In an alternative effort to plead some unfair practice and act, Qorvo dedicates much of its

 Section 75-1 allegations to a confidentiality agreement it allegedly has in place with each of its
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 employees, including the unspecified former Qorvo employees. While Qorvo opted not to allege

 a breach of contract claim against any ex-Qorvo employee, Qorvo alleges that these unidentified

 former employees breached or may breach their confidentiality agreement with Qorvo. (D.I. 1

 ¶¶ 49, 50, 54, 56.) This dissembling approach fails at multiple levels. First, this case was

 brought against Akoustis and there is no privity of contract as to the matters alleged in the

 Complaint between Akoustis and Qorvo so any unasserted claim should, at most, be addressed

 elsewhere.7 Second, even if there was a contractual relationship at issue, under North Carolina

 law, a Section 75-1 claim must be based on more than a breach of contract. North Carolina law

 does not allow a plaintiff to “piggyback” a Section 75-1 onto a breach of contract claim—a

 Section 75-1 claim requires an additional showing of “substantial aggravating circumstances” to

 support a contract related claim, otherwise, the dispute is relegated to contract law. Broussard v.

 Meineke Disc. Muffler Shops, 155 F.3d 331, 347 (4th Cir. 1998); see also Ellis v. Louisiana-Pac.

 Corp., 699 F.3d 778, 787 (4th Cir. 2012) (Section 75-1 claims in the context of a contractual

 relationship must include egregious or aggravating circumstances in addition to the underlying

 breach of contract); Mosley & Mosley Builders, Inc. v. Landin Ltd., 97 N.C. App. 511, 518, cert.

 denied, 326 N.C. 801 (1990) (identifying that a breach must be accompanied by fraud or

 deception constituting unfair or deceptive trade practice). As the state Supreme Court found in

 SciGrip, Inc. v. Osae, “an intentional breach of contract, standing alone, simply does not suffice

 to support the assertion of an unfair and deceptive trade practices claim.” 373 N.C. 409, 427

 (2020). Absent some additional factual pleadings concerning fraud or an unfair act/practice by

 Akoustis, an underlying breach of contract claim (which is not even alleged here) cannot support

 a Section 75-1 claim.


    7
      Any alleged hiring related claims dating back to Akoustis’ inception (in 2014) are long time
barred under North Carolina law. See N.C.G.S. §1-52(1) and § 75-16.2.
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                3.      The Inevitable Disclosure Doctrine Is Not an Unfair Practice/Act

        Seeming to appreciate that its Section 75-1 allegations are deficient, Qorvo asks this

 Court to fill the gap by invoking the inevitable disclosure doctrine. Specifically, in the midst of

 its Section 75-1 claim, Qorvo alleges that “[t]he sheer number of highly-knowledgeable and

 qualified [ex-]Qorvo employees poached by Akoustis over its history has resulted in Akoustis

 inevitably using their knowledge and experience, including the Qorvo BAW Proprietary

 Information.” D.I. 1 ¶ 55 (emphasis added). This confused proposition should be rejected.

        Setting aside that there is nothing unlawful about an employee using his/her “knowledge

 and experience”, and Qorvo’s “BAW Proprietary Information” is defined so broadly that it is

 meaningless as to providing any type of notice of the information actually at issue, nothing in

 North Carolina law suggests that an unfair act or practice can be gap-filled by a legal

 assumption. The plain meaning of Section 75-1 is clear – a prima facie showing requires factual

 allegations sufficient to show an unfair act or practice (not a legal doctrine). By definition, the

 inevitable disclosure doctrine is neither an act nor a practice, it is a legal assumption that may be

 employed by a court in the context of a trade secrets claim. See Merck & Co., Inc. v. Lyon, 941

 F. Supp. 1443, 1460 (M.D.N.C.1996); see also Analog Devices, Inc. v. Michalski, 157 N.C. App.

 462, 471 (2003) (no application of inevitable disclosure in cases where the skills learned were

 not specific to the processes used by a former employer).

        Even if Qorvo had stated a trade secret claim, it would still have needed to make further

 factual allegations to trigger the inevitable disclosure doctrine.8 Those factual allegations are


    8
       In determining when to apply the doctrine of inevitable disclosure, North Carolina courts
look to several factors including: (1) any circumstances of bad faith or underhanded dealing; (2)
the competitor’s comparable level of technical knowledge and achievement; (3) the type of
training received and the similarity between the employee’s former and current position; (4) the
value of the information; and (5) the degree of particularity in which the trade secret was defined.

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 absent.

           Furthermore, the doctrine of inevitable disclosure has never been adopted by the North

 Carolina Supreme Court or the North Carolina Court of Appeals nor has it been deemed to be an

 act or practice for purposes of a Section 75-1 claim by any court in North Carolina. Spirax

 Sarco, Inc. v. SSI Eng’g, Inc., No. 5:14-CV-519-F, 2015 WL 1810093, at *5 (E.D.N.C. Apr. 17,

 2015). Moreover, consistent with the statute and analysis above, the court in Legacy Data

 Access, interpreting North Carolina law, confirmed that a trade secret violation was insufficient

 for a Section 75-1 claim as North Carolina law required evidence of an act or practice that is

 unfair or deceptive in addition to any trade secret violation. See 2017 WL 6001637 at *16.

 Qorvo cannot supplant the act/practice requirement with a judicial doctrine. Qorvo’s failure to

 plead any unfair or deceptive acts by Akoustis is fatal.

           B.     QORVO FAILS TO STATE A CLAIM FOR FALSE MARKING

           Section 292 of the Patent Act prohibits marking an article as patented “for the purpose of

 deceiving the public.” 35 U.S.C. § 292(a). To establish a claim for false marking, the claimant

 must demonstrate two elements: (1) that the defendant marked an unpatented article; and (2) that

 the defendant intended to deceive the public. Brinkmeier v. Graco Children’s Prods. Inc., 767 F.

 Supp. 2d 488, 494 (D. Del. 2011); see also Clontech Laboratories, Inc. v. Invitrogen Corp., 406

 F.3d 1347, 1352 (Fed. Cir. 2005). A false patent marking claim is held to the same pleading

 standard as Fed. R. Civ. P. 9(b) and prevents “relators using discovery as a fishing expedition.”

 See In re BP Lubricants USA Inc., 637 F.3d 1307, 1309 (Fed. Cir. 2011).



See Merck & Co., 941 F. Supp. at 1459-60; see also FMC Corp. v. Cyprus Foote Mineral Co.,
899 F. Supp. 1477, 1482-83 (W.D.N.C 1995) (declining to find inevitable disclosure where
plaintiff “asserted that its technology is superior in very general terms”); see also Anesthesiology
Consultants, PLLC v. Charlotte-Mecklenburg Hosp. Auth., No. 18 CVS 5899, 2018 WL 3304441,
at *19 (N.C. Bus. Ct. June 22, 2018) (declining to find inevitable disclosure where plaintiffs did
not show that former employee could not perform job without using plaintiffs’ information).
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        While a plaintiff may allege the knowledge and intent element based upon information

 and belief, the complaint nevertheless must “allege sufficient underlying facts from which a

 court may reasonably infer that a party acted with the requisite state of mind.” Id. at 1311

 (internal quotation omitted). Here, Qorvo alleges that “[t]he independent claims of U.S. Patent

 No. 10,256,786 recite piezoelectric layers.” (D.I. 1 ¶ 107.) Qorvo adds that the Akoustis’ BAW

 filters (“Accused Products”) are polycrystalline – not “single crystal” – piezoelectric layers.

 (D.I. 1 ¶¶ 65, 108). But Qorvo fails to allege, and cannot allege, a single ’786 Patent claim that

 actually requires a “single-crystal.” To the contrary, independent claim 1 does not include the

 term “single-crystal” at all. Rather, the single-crystal limitation is found, as an optional feature,

 of dependent claim 2 (Exhibit 1, col. 14, ll. 62-64) (emphasis added):

        The device of claim 1 wherein the seed substrate includes silicon, silicon carbide,
        aluminum oxide, or single crystal aluminum gallium nitride materials.

 Moreover, the “single-crystal” term is also not in any of the remaining independent claims of the

 ’786 Patent. Qorvo’s vague alleged rationale that all the claims require single crystals is

 “[b]ased on the disclosure of U.S. Patent No. 10,256,786 and Akoustis’ statements, [that] the

 recited piezoelectric layers are single-crystal.” D.I. 1 ¶ 107 (underline added). In other words,

 Qorvo seeks to allege fraud by Akoustis based not on the claim language itself, but on Qorvo’s

 opinion about how the patent could be construed.

        Even if Qorvo could sufficiently allege that Akoustis marked an unpatented article, the

 allegations required for deceptive intent are particularly high in a false marking case because

 “the false marking statute is a criminal one, despite being punishable only with a civil fine.”

 Pequignot v. Solo Cup Co., 608 F.3d 1356, 1363 (Fed. Cir. 2010) (internal citations omitted); see

 also Artskills, Inc. v. Royal Consumer Prods., LLC, 3:17-cv-1552 (VAB), 2018 U.S. Dist.

 LEXIS 121227 at *12 (D. Conn. 2018). Qorvo’s allegations entirely fail to meet this standard.

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 Qorvo, without any support in the claim language, simply contends that “Akoustis knew or

 should have known that U.S. Patent No. 10,256,786 covered only single-crystal piezoelectric

 layers.” (D.I. 1 ¶ 108.) This conclusory allegation fails to satisfy the “particularly high”

 pleading standard of Rule 9 which requires more than a general allegation. Cot’n Wash, Inc. v.

 Henkel Corp., 56 F. Supp. 3d 613, 622-24 (D. Del. 2014) (a generalized allegation that Plaintiffs

 knew their products were not covered by the patent is insufficient to prove a purpose of deceit.).

 To successfully allege a claim for false patent marking, a plaintiff must identify specific facts to

 indicate knowledge of the deception. In Battenfeld Techs., Inc. v. Birchwood Labs., Inc., for

 example, the defendant had abandoned its patent enforcement actions against the plaintiff, No.

 11-883 (MJD/JJK), 2011 U.S. Dist. LEXIS 158195 (D. Minn Sept. 15, 2011), at *24-25, and, in

 ThermoLifeInt'l, L.L.C. v. NeoGenis Labs, Inc., the defendant removed patent labels from certain

 of its products but concurrently continued to advertise the products as patented. 411 F. Supp. 3d

 at 494, 497 (D. Ariz. 2019). Qorvo’s Complaint offers no such allegations.

        Also, courts have held that where a patentee’s legal position, as to its own patents, is

 sufficiently plausible, the false marking claim cannot survive as a matter of law. Kemin Foods v.

 Pigmentos Vegetales Del Centro, 464 F.3d 1339, 1355 (Fed. Cir. 2006)); Max Impact, LLC v.

 Sherwood Grp., Inc., No. 09 Civ. 902, 2011 WL 507600, at *3 (S.D. N.Y. Feb. 14, 2011) (citing

 464 F.3d at 1355 for the proposition that a party’s legal position as to the scope of a patent was

 sufficiently plausible such that the party could not have acted with the requisite deceptive

 purpose). Akoustis’ contention that polycrystalline products are covered by at least one claim

 means Qorvo’s false marking claim should be dismissed.

        C.      QORVO FAILS TO STATE A CLAIM FOR FALSE ADVERTISING

        Like its false patent marking claim, Qorvo’s false advertising claim (Count III) contends

 that Akoustis’ BAW filters are not “single crystal” as advertised and based on “information and
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 belief” Akoustis used its alleged false advertising to promote that its BAW filters have better

 technology than Qorvo’s products. (D.I. 1 ¶¶ 93-97.) A plaintiff alleging false advertising

 pursuant to the Lanham Act must plead facts plausibly asserting that: (1) the defendant has made

 false or misleading statements in commercial advertising or promotion as to the defendant’s own

 product or another’s; (2) there is actual deception or at least a tendency to deceive a substantial

 portion of the intended audience; (3) the deception is material in that it is likely to influence

 purchasing decisions; (4) the advertised goods traveled in interstate commerce; and (5) there is a

 likelihood of injury to the plaintiff in terms of declining sales, loss of good will, etc. Accenture

 Global Servs. GmbH v. Guidewire Software Inc., 581 F. Supp. 2d 654, 666 (D. Del. 2008).

 Qorvo failed to sufficiently allege these claims with the specificity required by Rule 9 for

 Lanham Act claims.9

        As an initial matter, Qorvo’s pleading fails to identify the false and misleading statements

 at issue.10 Qorvo simply alleges that Akoustis’ “commercial advertising or promotion, including

 via Akoustis’ website, presentations, and press releases [and] in its SEC filings” are allegedly

 false or misleading regarding current Akoustis products. (See, e.g., D.I. 1 ¶¶ 94-97.) That is

 insufficient as a matter of law. Nothing in the Complaint identifies any “single crystal” reference

 by Akoustis as to any current BAW filter products. Even if Qorvo amended its allegations to

 clearly identify the alleged false/misleading statements, Qorvo cannot simply assume that



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       N. Bottling Co. v. Henry's Foods, Inc., 474 F. Supp. 3d 1016, 1028 (D.N.D. 2020) (“The
Court finds no reason as to why Rule 9 should apply to claims of deceit, false advertising and
consumer fraud protection under state law, but not to a claim of false advertising under the
Lanham Act.”); Select Comfort Corp. v. Sleep Better Store, LLC, 796 F. Supp. 2d 981, 983-84 (D.
Minn. 2011) (requiring false advertising claims alleged under the Lanham Act and state law to
meet Rule 9(b)’s particularity requirements).
     10
         Qorvo identifies two statements (“next-gen materials” and “will be manufactured” (D.I. 1
¶¶ 61-62) but neither qualify as an advertisement as both statements are clearly forward-looking
in nature. Cf. Reckitt Benckiser Inc. v. Motomco Ltd., 760 F.Supp.2d 446, 456 (S.D. N.Y. 2011).
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 Akoustis’ sophisticated audience will be misled by any such statement. In a recent decision of

 this Court in Sebela Pharms. Inc. v. TruPharma, LLC, No. 1:20-CV-01677-SB, 2021 WL

 1785042, at *1 (D. Del. May 5, 2021) (internal citation omitted), this Court specifically refused

 to accept the plaintiff’s “naked assertion” that the customers would be “tricked” by the alleged

 false advertisement. In granting the motion to dismiss, the Court noted:

        I cannot assume that the database’s sophisticated audience will misuse it just
        because Sebela says so. Sebela must ‘explain how the [database is] supposed to
        have mislead consumers in light of the whole context.’ And ideally, it should point
        to examples.

        Additionally, and because Qorvo has brought both false patent marking and Lanham Act

 claims, Akoustis’ rights as a patentee must also be considered. In Zenith Electronics Corp. v.

 Exzec, Inc., 182 Fed. 3d 1340, 1353-54 (Fed. Cir. 1999), the Federal Circuit considered the

 intersection of the Patent Act—which permits patent holders to give public notice of their patent

 rights—and the Lanham Act—which prohibits false advertising. The court in Zenith stated that

 before a patentee may be held liable for unfair competition under the Lanham Act for

 marketplace statements about its patent, it must have made the statements in bad faith. Id.; see

 also Golan v. Pingel Enter., Inc., 310 F.3d 1360, 1371 (Fed. Cir. 2002) (“[P]atentees do not

 violate the rules of fair competition by making accurate representations, and are allowed to make

 representations that turn out to be inaccurate provided they make them in good faith.”). Count

 III should be dismissed for failure to state a claim.

        D.      QORVO FAILS TO SATISFY THE KNOWLEDGE AND INTENT
                PLEADING REQUIREMENTS FOR ENHANCED DAMAGES BASED ON
                WILLFULNESS AND INDUCED PATENT INFRINGEMENT, AS WELL
                AS THE PLEADING REQUIREMENT FOR PAST DAMAGES

        Qorvo’s Complaint fails to sufficiently allege pre-suit knowledge of the Asserted Patents

 and infringement by Akoustis. (See, e.g., D.I. 1 ¶¶ 44, 50, 51.) Qorvo identifies those with

 knowledge only by job titles and descriptions, and claims that one or more of them worked with
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 the named inventors. (Id. ¶¶ 48, 50.) Qorvo does identify Akoustis senior executives by name

 (Id. ¶¶ 38, 39) and claims they knew about Qorvo’s patents. (Id. ¶ 51.) But Qorvo does not

 allege factual circumstances in which the Asserted Patents were called to the attention of any of

 the senior executives or the unnamed ex-Qorvo BAW employees, other than to say that some of

 them worked in the same department as the inventors. (Id. ¶ 50.)

        Knowledge of infringement is based on an assessment “of the totality of the patentee’s

 allegations.” Malvern Panalytical Ltd v. Ta Instruments-Waters LLC, No. 19-CV-2157-RGA,

 2021 WL 3856145, at *3 (D. Del. Aug. 27, 2021) (finding sufficient allegations of knowledge

 based on documentation that defendant would monitor plaintiff’s website “once a month” and

 engaged in other efforts to gather information about plaintiff.). Even considering the totality of

 the circumstances here, Qorvo’s allegations cannot support inferences of either pre-suit

 knowledge of the patents-in-suit or pre-suit knowledge of infringement. Qorvo’s generalized

 allegations of knowledge are comparable to those previously rejected in this District and others.

 Cf. Monec Holding AG v. Motorola Mobility, Inc., 897 F. Supp. 2d 225, 232 (D. Del. 2012)

 (knowledge of patent is not sufficient pled simply because there are allegations that defendant

 participated in the same market and there was unrelated litigation by the defendant’s competitors

 and media publicity concerning the relevant patent); Radware, Ltd., v. A10 Networks, Inc., No.

 C–13–02021–RMW, 2013 WL 5373305, at *2-*3 (N.D. Cal. Sept. 24, 2013) (even assuming

 that a former employee learned that the patent issued after he left his employment, there is no

 factual basis alleged in the complaint from which to infer that the former employee informed the

 defendant about the patent).

        Likewise, Qorvo fails to allege sufficient facts that Akoustis intended customers to

 infringe the Asserted Patents or knew that customers’ use of the BAW filters constituted

 infringement. While Qorvo makes the conclusory allegation that “Akoustis induces
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 infringement” by publishing instructions instructing third parties on how to use the Accused

 Products (see e.g., D.I. 1 ¶ 73), nowhere in the Complaint does Qorvo set forth any factual

 support to establish the requisite “intent.” See, e.g., Monec Holding AG, 897 F. Supp. 2d at 234

 (finding that “selling, advertising, supplying and instructing” amounts to conclusory averments

 that do not establish the requisite “intent.”); Avocet Sport Tech., Inc. v. Garmin Int’l, Inc., No. C

 11–04049 JW, 2012 WL 2343163, at *4 (N.D. Cal. June 5, 2012) (holding “specific instructions

 or training” is insufficient to allege induced infringement.). The Court should not accept

 Qorvo’s speculative opinions of intent but rather should dismiss Qorvo’s complaint for failing to

 allege the facts necessary to support its inducement allegations. Without the requisite knowledge

 and intent elements, Qorvo cannot adequately state a claim of indirect infringement or

 willfulness.

         Finally, “[a] claim for past damages requires pleading compliance with the marking

 statute [35 U.S.C § 287(a)]—even when compliance is achieved, factually, by doing nothing at

 all.” Express Mobile, Inc. v. Liquid Web, LLC, No. 1:18-CV-01177-RGA, consol., at *2 (D. Del.

 Apr. 15, 2019). Qorvo fails to plead any facts detailing the marking of its own products with the

 Asserted Patents or alternatively facts from which the Court could conclude that there is no need

 to mark. Qorvo’s claim for past, pre-suit damages must be dismissed.

 VII.    CONCLUSION

         For the foregoing reasons, Akoustis respectfully requests that the Court grant this motion

 in its entirety.




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  November 24, 2021

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